     Case 3:20-cr-00061-HDM-CSD    Document 78      Filed 07/29/24    Page 1 of 5


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 4
                            UNITED STATES DISTRICT COURT
 5
                                   DISTRICT OF NEVADA
 6

 7     UNITED STATES OF AMERICA,                   Case No. 3:20-cr-00061-HDM-CSD
 8                                Plaintiff,                         ORDER
             v.
 9
       AARON SHAW,
10
                                  Defendant.
11

12          Before   the   court    is   a   motion    for   reduction       of   sentence

13     pursuant to 18 U.S.C. § 3582(c)(2) and Amendment 821 to the United

14     States Sentencing Guidelines filed by the defendant, Aaron Shaw

15     (“Shaw”). (ECF Nos. 61 & 70). The government has opposed (ECF No.

16     73), and Shaw has replied (ECF No. 76).

17     Factual and Procedural Background

18          Shaw was charged in this case with three counts of Hobbs Act

19     robbery in violation of 18 U.S.C. § 1951 (ECF No. 11). On July 14,

20     2021, he pleaded guilty to all three counts pursuant to a binding

21     plea agreement in which the parties agreed to a sentence of 84

22     months’ imprisonment. (ECF Nos. 43 & 45). The presentence report,

23     however, calculated a Guidelines range of 100-125 months, based in

24     part on Shaw’s criminal history category being V, and the court,

25     at sentencing, noted that given the “defendant’s prior criminal

26     record, and also, the nature of the offenses” a downward departure

27     from the Guidelines range would “require [the court] to make some

28     findings that would be difficult . . . to make in this case.” (ECF


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     Case 3:20-cr-00061-HDM-CSD   Document 78   Filed 07/29/24   Page 2 of 5


 1     No. 69 at 6-7). The government explained that it agreed to the 84-

 2     month sentence based on the parties’ anticipation that Shaw would

 3     fall in a category III or IV criminal history and that a category

 4     V probably overstated Shaw’s criminal history. (Id. at 12-13).

 5     Both the government and Shaw advised the court that they would

 6     have no objection if the court found Shaw fell instead into a

 7     category IV because his criminal history was overstated at category

 8     V. (Id. at 14). The court then stated:

 9
                  . . . I do agree with everyone that some of the
10          prior   criminal   history   tends  to   overstate   the
            defendant’s prior criminal conduct to the extent that he
11          -- I think he probably appropriately, without objection,
            falls in a category IV with a 25 which puts him to 84 to
12          105.
13               Under those circumstances, the binding nature of
            the plea agreement would, if I accept it, still be within
14          the guideline range although it would be at the bottom
            of the guideline range, and I can advise you that I have
15          even difficulty placing the defendant at the bottom of
            the guideline range considering the prior conduct and
16          the conduct in this case.
17               But I believe, as far as I don’t have to depart
            under the guidelines, and I don’t have to grant variance
18          which I don’t think there’s a basis for, then I can
            accept the binding nature of the plea agreement.
19
                 So based upon the arguments of counsel, the Court
20          finds and concludes that it can accept the binding nature
            of the plea agreement because it still falls within the
21          guideline range.
22
       (Id. at 15-16). Then, when making its finding, the court held:
23
            Prior criminal history, we've already discussed that
24          generally. We do have the false imprisonment, three
            points, paragraph 81. Paragraph 82 is one point,
25          obstruction. Eighty-three, paragraph 83, is two points,
            violation of a court order, and the driving under the
26          influence of alcohol, one point, driving under the
            influence,   one   point,  possession   of   controlled
27          substance, one point. The total criminal history points
            in this case, the criminal history score is 11, and
28          therefore the defendant falls under, in this case, a

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     Case 3:20-cr-00061-HDM-CSD     Document 78   Filed 07/29/24    Page 3 of 5


              category IV because I’ve made an adjustment from V taking
 1            into consideration the one point adjustments that were
              made with respect to the alcohol and the controlled
 2            substance and the domestic issue which was two points
              which in all probability may well have been satisfied
 3            with one point.
 4     (Id. at 18). The court then sentenced Shaw to a term of 84 months’

 5     incarceration.

 6            Now, Shaw seeks a reduction of sentence pursuant to 18 U.S.C.

 7     § 3582(c)(2) on the grounds that his sentencing range has been

 8     lowered by Amendment 821 to the Guidelines.

 9     Standard

10            Section 3582(c)(2) allows the court to, “after considering

11     the factors set forth in section 3553(a) to the extent that they

12     are applicable,” modify a term of imprisonment for “a defendant

13     who has been sentenced to a term of imprisonment based on a

14     sentencing    range   that    has   subsequently      been    lowered      by”   a

15     retroactive amendment to the Sentencing Guidelines, if such a

16     reduction is consistent with applicable policy statements issued

17     by the Sentencing Commission.        See id.; U.S.S.G. § 1B1.10(a)(1)-

18     (2).

19            After Shaw was sentenced, U.S.S.G. § 4A1.1 was amended – by

20     way of Amendment 821 - to reduce or eliminate the number of

21     criminal history points counted when an offender commits the

22     instant offense while under a criminal justice sentence, otherwise

23     referred to as “status points.” Prior to the amendment, qualifying

24     offenders, like Shaw, received two status points. Following the

25     amendment, only one point is now assigned, and only to an offender

26     who has 7 or more other criminal history points. The amendment was

27     made retroactive and may therefore support a sentence modification

28     under § 3582(c)(2) and U.S.S.G. § 1B1.10. U.S.S.G. § 1B1.10(d).


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     Case 3:20-cr-00061-HDM-CSD   Document 78       Filed 07/29/24   Page 4 of 5


 1     Analysis

 2           Here, Shaw had a total of 11 criminal history points, but

 3     because the court found that this overstated his criminal history,

 4     it placed him instead in a category IV. U.S.S.G. § 4A1.3(b) (“If

 5     reliable   information     indicates       that   the    defendant’s    criminal

 6     history category substantially over-represents the seriousness of

 7     the   defendant’s   criminal    history      or   the    likelihood    that   the

 8     defendant will commit other crimes, a down-ward departure may be

 9     warranted.”).   The   court    did   not,    as   Shaw    argues,    reduce   his

10     criminal history points to 8. At most, because Shaw has at least

11     seven other criminal history points, Amendment 821 would allow for

12     a one-point reduction in Shaw’s score. A one-point reduction would

13     have no effect on Shaw’s criminal history category, which was and

14     remains IV, and therefore he is not eligible for relief under §

15     3582(c)(2) and Amendment 821.

16           Moreover, the relevant § 3553(a) factors do not favor a

17     reduction in sentence. The nature and circumstances of the offenses

18     were violent and included not only pointing a firearm at multiple

19     victims but doing so at close range and with threats to kill.

20     Shaw’s history and characteristics are also steeped in violence.

21     The court finds that an 84-month sentence remains necessary to

22     reflect the seriousness of the offense, to promote respect for the

23     law, to provide just punishment for the offense, to afford adequate

24     deterrence to criminal conduct, to protect the public from further

25     crimes of the defendant, and also to avoid unwarranted sentence

26     disparities among defendants with similar records who have been

27     found guilty of similar conduct.

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     Case 3:20-cr-00061-HDM-CSD   Document 78   Filed 07/29/24   Page 5 of 5


 1          Accordingly, IT IS THEREFORE ORDERED that Shaw’s motion for

 2     reduction of sentence (ECF Nos. 61 & 70) is DENIED.

 3          IT IS SO ORDERED.

 4          DATED: This 29th day of July, 2024.

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 6
                                         UNITED STATES DISTRICT JUDGE
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